   USCA Case #22-1209            Document #1996756                   Filed: 04/27/2023   Page 1 of 1

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                                             ISTRICT OF    OLUMBIA    IRCUIT
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No. 22-1209                                                          September Term, 2022
                                                                                     STB-FD36522
                                                          Filed On: April 27, 2023 [1996756]
Norfolk Southern Railway Company,
                   Petitioner
         v.
Surface Transportation Board and United
States of America,
                   Respondents
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CSX Transportation, Inc.,
            Intervenor

                                               ORDER
       It is ORDERED, on the court's own motion, that the following times are allotted for the
oral argument of this case scheduled for May 9, 2023, at 9:30 A.M.:
                  Petitioner                                    -              15 Minutes
                  Respondents                                   -              10 Minutes
                  Intervenor CSX Transportation, Inc.           -               5 Minutes
     The panel considering this case will consist of Circuit Judges Henderson, Wilkins,
and Walker.
       Form 72, which may be accessed through the link on this order, must be completed
and returned to the Clerk's Office by May 1, 2023.

                                              Per Curiam
                                                                FOR THE COURT:
                                                                Mark J. Langer, Clerk
                                                          BY:   /s/
                                                                Michael C. McGrail
                                                                Deputy Clerk
The following forms and notices are available on the Court's website:
         Notification to the Court from Attorney Intending to Present Argument (Form 72)
